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            UNITED STATES DISTRICT COURT FOR
                THE DISTRICT OF COLUMBIA
UNITED STATES OF AMERICA,                              Case No.: 1:21-cr-00128-RC

             v.


WILLIAM ALEXANDER POPE,

                        Defendant .


  MOTION TO COMPEL ‘RAINDROP THEORY’ DISCOVERY
       In ECF No. 147 at 12, I notified the Court of my intent to counter the government’s

‘Raindrop’ prosecution theory, with a ‘Raindrop’ defense theory that shows how the government

contributed to flooding the field. I expanded on that in and ECF No. 225 at 7, pointing out that

current FBI agents cheered as people went up the steps, entered the government’s alleged

restricted area, and took photos on the Capitol. In this motion, I will continue to expand on this

defense, laying out the broader raindrop theory; that the government creating the conditions for

the field flooding was an act of inducement, and that there was a heavy presence of undercovers

in the crowd contributing to the flood. This is not an entrapment by estoppel defense (C.R.M.

645), which requires evidence both of inducement and lack of predisposition. Instead, Raindrop

Theory is an entrapment by outrageous government conduct defense (C.R.M 648), since the

magnitude of the government’s actions on and before January 6 were so outrageous and shocking

that they constitute an induced entrapment of all who were at the Capitol regardless of

predisposition. We now have a growing body of evidence, including the testimony of former

Capitol Police Chief Steven Sund, to show this was the case. In the pages ahead, I outline the

probable cause that justifies the Court compelling additional Raindrop Theory discovery.
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Background of the Raindrop Legal Theory

         Raindrop Theory, which connects individual actions to a collective outcome which the

individual is found responsible for, was first introduced on June 17, 2022 by the District Court in

United States v. Rivera, 21-cr-00060-CKK, No. 62 at 13, when Judge Kollar-Kotelly ruled that:

         Just as heavy rains cause a flood in a field, each individual raindrop itself contributes to

         that flood. Only when all of the floodwaters subside is order restored to the field. Many

         rioters collectively disrupted Congressional proceedings, and each individual rioter

         contributed to that disruption.

         After the D.C. District Court created, endorsed, and repeated1 the ‘Raindrop’ legal

theory, the government then adopted it and propagated its use in numerous other January 6 cases.

This led to defense teams seeking to preclude the government from using the ‘Raindrop Theory’

in trial. Examples of such motions in limine include United States v. Gunby, 21-cr-00626-PLF,

No. 56, United States v. Gray, 21-cr-00495-ABJ, No. 76, and United States v. Westbury, 21-cr-

00605-RC, No. 114.

         In the case of Gunby, Judge Friedman2 found that “Mr. Gunby’s conduct did not occur in

a vacuum, and the thus the actions of others may be relevant, and indeed necessary, to the

government’s case against Mr. Gunby” and Judge Friedman permitted the government to

“introduce evidence about the rest of the crowd” (21-cr-00626-PLF, No. 57 at 10).



1
 Judge Kollar-Kotelly repeated the Raindrop Theory in the case of United States v. McAndrew, 21-cr-00730-CKK,
No. 59 at 15, to find the defendant guilty.

2
 Judge Friedman noted in Gunby, that “This Court – joining other judges of this district – agrees with Judge Kollar-
Kotelly’s reasoning” on use of the Raindrop Theory (21-cr-00626-PLF, No. 56 at 8).
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        In the case of Westbury, the government argued in opposition of the defendant’s motion

in limine that “the government should not be precluded from arguing that the defendant was in

fact a raindrop in that storm” (21-cr-00605-RC, No. 114, at 2). Denying defendant Westbury’s

motion, Judge Contreras found that, “Each additional person, no matter how modestly behaved,

increased the chaos within the building, the police's difficulty in restoring order and the

likelihood of interference with the Congress's work” (February 2, 2024, Minute Order).

        Since this Court will not allow the government’s use of ‘Raindrop Theory’ to be

precluded in January 6 trials, I am instead adopting the ‘Raindrop Theory’ as a legal defense to

show that agencies had intelligence but did not alter their security posture, thus allowing

conditions to exist that induced the field flooding; and that persons in the crowd were working

undercover for the same government agencies, and that their mere presence as raindrops, even if

“modestly behaved,” increased the chaos and flooding of the field.

        The Criminal Resource Manual (CRM) No. 6453, outlines the elements of entrapment:

(1) government inducement, and (2) the defendant’s lack of predisposition. Under the raindrop

theory, the mere presence of individuals4 “contributes to that flood,” thus meeting the

inducement element for entrapment (as we already know that some of the individuals at the

Capitol were government assets). Since the inducement element is present, the legal battle would

then fall to whether I, or any other defendant, was predisposed to parade, picket, etc.




3
 CRM 645 Entrapment Elements, can be accessed here: https://www.justice.gov/archives/jm/criminal-resource-
manual-645-entrapment-elements

4
 Undercover government agents and assets within the crowd are raindrops, (just as the government argues that
protestors and journalists in the crowd were raindrops), and induced flooding of the field because by the nature of
their disguise, they were perceived to be water, thus affecting the actions of protestors and uniformed police.
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        However, while I’m more than ready to fight the battle over predisposition, CRM No.

6485, allows ‘Outrageous Government Conduct’ as an additional defense to entrapment

regardless of a defendant’s predisposition. In United States v. Russell, 411 U.S. 431 (1973), the

Supreme Court acknowledged that “we may someday be presented with a situation in which the

conduct of law enforcement agents is so outrageous that due process principles would absolutely

bar the government from invoking judicial processes to obtain a conviction.” There would seem

to be no greater test of ‘outrageous government conduct’ than any government operations at the

Capitol related to the January 6 cases, which constitute the broadest and most unprecedented

prosecutions in American history. I am arguing that the scope and nature of government presence

and involvement at the Capitol on January 6, 2021, is “shocking to the universal sense of justice”

and violates the “fundamental fairness” mandated by the Due Process Clause of the Fifth

Amendment (United States v. Russell, 411 U.S. 432, 1973).

        Therefore, since I intend to use Raindrop Theory in the context of Outrageous

Government Conduct as a defense, I am seeking all discovery related to failure to act on

intelligence to enhance the Capitol’s security posture, and all discovery related to undercover

government operations at the Capitol, since such discovery is needed to demonstrate outrageous

government conduct and will be exculpatory to my defense within the framework of the

Raindrop legal theory (which has been endorsed by numerous judges on the District Court).

The Two Inducing Components of Outrageous Government Conduct on January 6

        In my Raindrop Theory defense, I intend to show that the government induced flooding

of the field on January 6 in two ways: (1) The government allowed conditions to exist that made

5
 CRM 648 Entrapment – Outrageous Government Conduct, can be accessed here:
https://www.justice.gov/archives/jm/criminal-resource-manual-648-entrapment-outrageous-government-conduct
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flooding possible by withholding intelligence and intentionally maintaining a reduced security

posture; and (2) The government saturated the crowd with their own agents and informants

(raindrops), including at the initial breach points, which caused the field to be flooded. Either one

of these demonstrate Entrapment by Outrageous Government Conduct, but the presence of both

more thoroughly evidences outrageous government conduct and induced entrapment. However, I

am also going to provide evidence that individuals connected to government agencies were

actively working to move people to the Capitol, which makes these two factors more outrageous.

Outrageous Conduct by the Federal Bureau of Investigation

           On January 6, 2021, Steven Sund was Chief of Capitol Police. In his book Courage

Under Fire6, Sund recounts that the FBI failed to provide critical intelligence or even standard

briefings to Capitol Police that would have resulted in a change in security posture at the Capitol

(p. 265). Sund also notes that there have been multiple reports that “FBI confidential informants,

sometimes referred to as ‘special employees,’ were also in the crowd and that some may even

have participated in the attack on my officers and breached the Capitol itself” (p. 265).

           There is more to this than speculation. As I noted in ECF No. 81 at 15, MPD Officer

Alioto’s bodycam recorded FBI informant James Ehren Knowles inside the Capitol. In United

States v. Nordean, 1:21-cr-00175, (D.D.C.), the government stipulated that there were numerous

informants within the Proud Boys. We also know that FBI informant Michael Alan Jones, like

Knowles, was involved with the initial entry onto Capitol grounds and was captured on video

punching an officer and entering the Capitol, yet Jones has not been charged for January 6.7



6
    Sund, Steven. A. (2023). Courage under fire. Blackstone Publishing.

7
    More on FBI informant Michael Alan Jones: https://www.declassified.live/p/who-is-michael-jones-fbi-informant
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       In ECF Nos. 212 and 225, I noted that former FBI Liaison to Capitol Police John

Guandolo was on Capitol grounds, inside the government’s alleged restricted area with active

FBI agents, and that those agents clapped as people went up the steps, took pictures on the steps,

had extended discussions with uniformed FBI swat teams, and introduced Guandolo to other FBI

agents who were in the January 6 crowd at the Capitol. Guandolo admits they stayed at the

Capitol until late into the evening.

       Guandolo’s assertion that he was introduced to other FBI agents and law enforcement on

Capitol grounds is supported by the fact that at least 39 FBI Special Agents and 10 FBI JTTF

Task Force Officers have sworn in January 6 case charging documents that they were on duty on

January 6, 2021 (See Exhibit 1). For instance, Special Agent Michael J. McGillicuddy attests that

he was “assigned to the Shift 1 Operations Group, which was forward deployed to the vicinity of

the United States (U.S.) Capitol.” One of these affiants, FBI Special Agent Benjamin Bullington,

notes that he was in uniform with the FBI SWAT team at the Capitol, but most make no such

clarification that their clothing visibly identified them as FBI.

       Bullington’s Statement of Facts also notes that he is assigned to the FBI’s Safe Streets

Task Force. This is significant because at least two of the undercover MPD Electronic

Surveillance Unit (ESU) officers from January 6 are also JTTF Task Force Officers with this

same program. For instance, MPD Detective Scott Brown is listed in the MPD Ops Plan for

January 6 (See ECF No. 139 at 2) and was identified by attorneys for defendant Pezzola in

United States v. Nordean, 21-cr-000175, ECF No. 748 at 3, as a Task Force Officer who was in

the Electronic Surveillance Unit that was made available by the FBI for Proud Boys attorneys to

interview. The fact that Detective Brown was identified as relevant to the Proud Boys case (in

the middle of trial) implies that Brown was interacting with the Proud Boys at the Capitol on
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January 6.8 This is further evidenced by the fact that Brown attests in sworn Statement of Facts

for Couy Griffin (21-cr-00092-TNM), and Vitali Gossjankowski (21-cr-00123), that Brown was

on duty on January 6, and detailed to the FBI’s Safe Streets Task Force. This drives home the

point that FBI affiants who attested that they were on duty on January 6 were working

undercover at the Capitol.

           We also see this in USCP Special Agent John Ford’s Affidavit for Mark Squatrito (2021

CMD 000390)9 dated January 15, 2021. Ford attests that on January 6, he was on duty with the

Capitol Police Counter Surveillance Team, which is an undercover unit. In Global Discovery,

there is further evidence of Ford being undercover on January 6, including USCP Counter

Surveillance Team group emails and text messages where Ford shared a photo of the East Side of

the Capitol. The USCP countersurveillance team also discussed movements of the Proud Boys

before they were on Capitol grounds, and coordinated their response to the RNC and DNC.10

Ford’s sworn affidavit again demonstrates that it is typical in January 6 charging documents for

undercover operatives to attest that they were on duty on January 6, without fully divulging their

undercover status.

           This is also evidenced by the agents and officers who were in uniform, explicitly attesting

to their uniformed status, while those, like Special Agent Ford and Detective Brown, who were


8
    I previously requested discovery on FBI TFO Brown in ECF No. 139 at 31.

9
 Squatrito is one of the few January 6 defendants to be handled by the D.C. Superior Court. Ironically, while the
government tells me that Global Production Letters are designated as sensitive, the government filed Global 1-20
on Squatrito’s public docket on November 11, 2022.

10
  The fact that undercover USCP Counter Surveillance Teams responded to the RNC and DNC was previously
disclosed by Congress and reported by journalist Steve Baker (who is being prosecuted by the DOJ for his
journalism on January 6, 2021, and subsequent inconvenient reporting). However, to prevent confusion, I want to
be clear that I have seen no evidence that Special Agent Ford responded to the DNC. For more:
https://hotair.com/headlines/2024/01/18/j6-dnc-pipebomb-was-discovered-by-a-plainclothes-cop-n605664
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both undercover, omitted those details. For instance, in addition to Agent Bullington, who was in

uniform with the FBI SWAT team, MPD Officer Dalvin Haynes, and Capitol Police Officer

Joseph Bruno explicitly state that they were in uniform at the Capitol in charging documents. In

United States v. Fitchett, et al, 21-cr-00041, Document 1, Bruno attests “I was detailed and

deployed in uniform at the United States Capitol Building.” In United States v. Alberts, 21-cr-

00026, Document 1-1, Haynes attests “I was on duty, in full uniform, serving as part of Civil

Disturbance Unit (CDU) 53 deployed to the U.S. Capitol grounds.”

        I believe the 49+ FBI Agents and FBI JTTF Task Force Officers who have attested that

they were on duty on January 6, is only a small fraction of the number who were actually

working at the Capitol. This is because in many January 6 charging documents, the affiant does

not say they were on duty, even though it is documented elsewhere. For instance, Exhibit 1,

Figures 1 through 4 show that FBI Special Agent Daniel J. Senters attested himself in different

ways in different cases. In the cases of Blake Austin Reed and Jack Jesse Griffith (21-cr-00204-

BAH),11 Agent Senters noted he was on duty on January 6, but did not list his FBI unit. In the

cases of Eric Torrens (21-cr-00135-RBW) and Matthew Bledsoe (21-cr-00171), Agent Senters

omitted that he was on duty on January 6, but did add that he was assigned to the FBI’s Safe

Streets Task Force (the unit Agent Bullington and at least two undercover MPD ESU officers are

also in). Without the Reed and Griffith charging documents, we wouldn’t know Agent Senters

had been on duty on January 6.12 For this reason, it is likely that hundreds of other FBI agents

were also on duty on January 6, but have not overtly disclosed their on-duty presence.



11
  Initially Blake Reed and Jack Griffith had the same case number but slightly different Statements of Fact. Bledsoe
and Torrens had different case numbers, but their cases were eventually combined with Reed and Griffith.

12
  FBI Special Agent Lynda W. Thomas is another example of an affiant who noted she was on duty on January 6 in
at least one case (See Jordan Revlett), but omitted this statement in others (See Brent Bozell).
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Table 1: Affiants who swore in case charging documents that they were on duty on January 6.

 Agency        Position              Affiant                                            Unit
Army      Special Agent      Charles D. Robertson      U.S. Army Counterintelligence and FBI JTTF
DHS-FPS Special Agent        Kevin Palomino            DHS Federal Protective Service assigned to the FBI North Texas JTTF
FBI       Special Agent      Alejandro M. Flores
FBI       Special Agent      Alexis Brown              Washington Field Office: Criminal Division
FBI       Special Agent      Amie C. Steimen           Washington Field Office: International Corruption Squad
FBI       Special Agent      Andrew McIntyre Mason     Washington Field Office
FBI       Special Agent      Benjamin J. Bullington    Washington Field Officer: Safe Streets Task Force & SWAT Team
FBI       Special Agent      Bryon J. Speakes
FBI       Special Agent      Christopher Keefe
FBI       Special Agent      Christopher R. Potts      Nashville Resident Agency of the Memphis Field Office: JTTF
FBI       Special Agent      Daniel J. Senters         Washington Field Office: Safe Streets Task Force
FBI       Special Agent      Darren Jefferies          Counter-Intelligence Division
FBI       Special Agent      Elizabeth J. Ward
FBI       Special Agent      Gary Battista             FBI New York: Joint Terrorism Task Force
FBI       Special Agent      James L. Dvorsky
FBI       Special Agent      Jamie Stranahan           Washington Field Office: Public Corruption and Civil Rights Squad
FBI       Special Agent      Jared Horan               Washington Field Office
FBI       Special Agent      Jason T. Coe              Washington Field Office
FBI       Special Agent      Jennifer Schick
FBI       Special Agent      Jonathan Fugitt           Washington D.C.'s Cross Border Task Force: Violent Crimes
FBI       Special Agent      Josh Miller               Washington Field Office: Criminal Branch
FBI       Special Agent      Julie K. Williams
FBI       Special Agent      Kenneth R. Shappee        Washington Field Office
FBI       Special Agent      Kevin M. Helson
FBI       Special Agent      Kevin T. Larkin
FBI       Special Agent      Lynda W. Thomas           Washington Field Office
FBI       Special Agent      Matthew Bruno
FBI       Special Agent      Michael Attard            Counter-Terrorism Squad
FBI       Special Agent      Michael J. McGillicuddy   Washington Field Officer: Shift 1 Operations Group
FBI       Special Agent      Michael P. DiCaprio       FBI Albany: Joint Terrorism Task Force
FBI       Special Agent      Mustafa Kutla
FBI       Special Agent      Patrick Muteteke          Newark Field Office: Joint Terrorism Task Force
FBI       Special Agent      Paul J. Fisher            Washington Field Office: Squad CR-18
FBI       Special Agent      Peter W. Wall
FBI       Special Agent      Riley Palmertree
FBI       Special Agent      Ronald E. Miller          Washington Field Office: Securities Fraud Squad
FBI       Special Agent      Ryan V. Romack            Washington Field Office
FBI       Special Agent      Samad D. Shahrani         Washington Field Officer: Hi-Tech Organized Crime Squad
FBI       Special Agent      Seth Webb
FBI       Special Agent      Stephen R. Hart
FBI       Special Agent      Timothy J. Ervin
JTTF      Task Force Officer Gerald Sheridan           Joint Terrorism Task Force
JTTF      Task Force Officer Jonathan J. Begor         FBI New York: Joint Terrorism Task Force
JTTF      Task Force Officer Jordan Good               FBI: Joint Terrorism Task Force
JTTF      Task Force Officer Kenneth Hale              FBI: Joint Terrorism Task Force
JTTF      Task Force Officer Neil Larson               FBI Philadelphia: Joint Terrorism Task Force
JTTF      Task Force Officer Peter Schrammel           FBI New York: Joint Terrorism Task Force
MPD       Detective          Yaroslav Babich           MPD: Mass Processing Center
MPD       Officer            Dallan Haynes             MPD: Civil Disturbance Unit 53
MPD/JTTF Detective           Scott F. Brown            MPD SID/ESU & FBI Safe Streets Task Force
Navy NCIS Special Agent      Daniel J. Meyers          Naval Criminal Investigative Services
USCP      Officer            Americo Nepa              Capitol Police
USCP      Officer            Daniel Amendola           Capitol Police
USCP      Special Agent      James Soltes              Criminal Investigation Section
USCP      Officer            Joseph Bruno              Capitol Police
USCP      Special Agent      Robert Flock              Threat Assessment Section
USCP      Special Agent      John Ford                 Counter Surveilance Team
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       While FBI agents have acknowledged that they were on duty on January 6, not all of

them have explicitly said they were present at the Capitol. However, the omission of an explicit

statement of presence does not rule out actual presence. Most reasonable people would take the

plain language of “On January 6, 2021, your affiant, [Agents Name], was on duty,” to imply that

the agent was on duty at the location and time of the incident being charged. The contextual

information of the agent’s attestation of facts implies that “on duty” on January 6, refers to on

duty at the Capitol while events were transpiring.

       This is significant because while most of the FBI affiants work out of the FBI’s

Washington Field Office, there are also several from out of district who have also attested that

they were on duty on January 6. See Table 1. These include FBI Special Agent Christopher Potts

from the Nashville Resident Agency of the FBI’s Memphis Field Office; FBI Special Agent

Gary Battista of the FBI New York JTTF; FBI Special Agent Michael DiCaprio of the FBI

Albany JTTF; and FBI Special Agent Patrick Muteteke of the Newark Field Office JTTF. There

are also several out of district JTTF Task Force Officers who have attested they were on duty on

January 6, including: FBI TFOs Jonathan Begor and Peter Schrammel of the FBI New York

JTTF; and FBI TFO Neil Larson of the FBI Philadelphia JTTF. Additionally, DHS Special

Agent Kevin Palomino, who is assigned to the FBI Dallas JTTF, has also attested that he was on

duty on January 6, 2021. All of their statements are included in Exhibit 1.

       FBI TFO Neil Larson is another example of an affiant attesting that they were on duty in

some cases, while omitting it in other charging documents. In the affidavit for Rachel Myers and

Michael Gianos (22-cr-00074-JMC, Document 1-1), Larson attests that on January 6 he was “on

duty performing my official duties as a Task Force Officer.” Larson also included the context

that he was specifically referring to his duties with the Philadelphia Field Office Joint Terrorism
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Task Force, being, “tasked with investigating criminal activity including criminal activity

occurring on and around the United States Capitol grounds.” The Court should note that TFO

Larson used the word “occurring,” denoting present tense (events in real time), rather than the

past tense ‘occurred.’ However, in the charging documents for Edward McAlanis (21-cr-00516-

DLF, Document 1-1), and Michael James Dickinson (21-cr-00649-EGS, Document 1-1), Larson

omitted all references to him being “on duty” on January 6.

        There is now ample evidence that the FBI had a heavy presence at the Capitol on January

6, which is even more alarming considering the fact that we now know they had intelligence that

was not shared with other agencies. This constitutes outrageous government conduct.

Outrageous Conduct by the Department of Homeland Security

        As noted in the previous section, DHS-FPS Special Agent Kevin Palomino attested that

he was on duty on January 6. Earlier this year, I by bizarre chance also met an off-duty DHS

employee from Kansas City, who did not know who I was. He wasn’t open about the nature of

his work, so I joked with him that he probably went undercover as Patriot Front. He responded,

“Proud Boys,” and added “you want to go to the Capitol?” I then jokingly asked, “Oh, were you

there?” The DHS employee then acknowledged that he was, but that he was wearing a ski mask.

Afterwards, he attempted to walk that back by claiming his job was mainly paperwork and that

he didn’t get involved in the “CIA type shit” that DHS does. It was an unsettling interaction.13




13
   Oddly enough, I also encountered a former DHS employee this year who was trying to tell me about their recent
trip to the border as part of widely hyped ‘patriot’ convoy. They didn’t know who I was, and I didn’t know their
background in DHS, but during the course of the conversation I was able to ascertain that they had retired from a
DHS agency and that they had traveled to the border under the auspices of promoting the convoy while being paid
as an independent consultant for the Department of Homeland Security.
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        During my research of January 6 and other protests, I have gained a greater

understanding of undercover DHS operations and I now believe there were numerous DHS

assets in Washington and at the Capitol on January 6.14 Yet even if this were not the case, the

Department of Homeland Security has induced the field flooding by withhold key intelligence

that affected the security posture at the Capitol.

        As Chief Sund notes in his book Courage Under Fire, “DHS never produced a bulletin

specific to the date or to the joint session of Congress,” even though they were collecting

“troubling information” that would have warranted disseminating intel to Capitol Police (p. 269-

270). Instead, the DHS distributed only their standard national summary to local law

enforcement on January 5, that stated “nothing significant to report” (p. 270). This systemic

failure by DHS has led to the Courts handling hundreds of January 6 cases, including mine, that

should have never existed. The Raindrop Theory conditions for flooding the field would have

never existed without Outrageous Government Conduct by DHS inducing a relaxed security

posture. In the Navy, Captains are held accountable for the loss of a ship resulting from their

failed leadership. Yet while hundreds of non-violent citizens who exercised First Amendment

rights now fill the Court system, nobody from DHS has been charged for their causal role.

Outrageous Conduct by Capitol Police Intelligence

        As noted in the previous section on the FBI, the Capitol Police did have undercover

officers like Special Agent John Ford working on January 6. In ECF No. 81 at 15, I also pointed

out that in MPD Officer Luke Foskett’s bodycam recording, a Capitol Police officer inside the



14
  MPD Officer Rodger Currie’s bodycam recording shows MPD motorcycle police going to a DHS facility to use the
bathroom, and the DHS police mentioned that they’d had “a million people come here.” See Exhibit 2:
https://rumble.com/v4t4p93-exhibit-2-20210106-first-amendment-assembly-downtown-no-incident.html
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Capitol described ways to identify USCP undercovers who were mixed in with the crowd.15

Video recorded by defendant Timothy Allen Hart (21-cr-00540) also captured uniformed Capitol

Police summoning and giving orders to plain clothes individuals in the crowd during the first

minutes at the west front of the United States Capitol.16 Of course, some Capitol Police officers,

such as Lt. Byrd, and Agent Lazarus, were also wearing suits.

           There is no question that Capitol Police had officers in plain clothes working on January

6. The exact nature and extent of their involvement is not yet known, but at minimum, they were

raindrops on the field. However, the most outrageous government conduct from Capitol Police

came from their intelligence division, which failed to share crucial information with Chief Sund,

which resulted in the House and Senate Sergeant declining National Guard assistance in advance

of January 6. This led to a more relaxed security posture that never should have existed. As Chief

Sund assessed in his book, “I have learned that the intelligence the IICD provided to assist in our

planning and preparations for January 6 was neither complete nor accurate. Indeed, it was

seriously flawed. . . by far the biggest factor contributing to our lack of preparedness on that day”

(p. 248-250). If it were not for these failures,17 I would have never perceived Capitol grounds to

be open to the public,18 and there would be no entry into the Capitol, or charges filed. These

failures were the result of outrageous government conduct, and they resulted in a trap for the

hundreds of Americans who have now been charged for January 6.


15
  MPD Officer Foskett’s bodycam recording was previously included as exhibit 81-2. See from the 33 minute mark:
https://rumble.com/v29wy6w-exhibit-81-2-bodycam-footage-from-officer-luke-foskett.html

16
  A clip of Timothy Allen Hart’s footage of uniformed Capitol Police directing non-uniformed individuals can be
viewed here: https://x.com/FreeStateWill/status/1773467507464016252

17
     Chief Sund also noted, “This was a colossal USCP intelligence failure, plain and simple” (Sund, p. 250)

18
 Every other time I have visited Washington, the U.S. Capitol grounds were fully open to the public, and when I
walked up to the Capitol on January 6, the lawn was already full of people, so nothing seemed out of the ordinary.
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Figure 1: In the first minutes at the west front, uniformed Capitol Police could be seen giving orders to plain clothes individuals.

Outrageous Conduct by D. C. Metro Police

          I’ve previously detailed outrageous conduct by D.C. Metro Police in several filings,

including in detail in ECF No. 139 and 147. Documented behaviors include repeatedly urging

people to advance up the steps to the Capitol, thanking people who removed fences, and

congratulating people who broke windows. It has now been reported that one undercover MPD

Investigator has been disciplined for their actions at the Capitol on January 6, but the government

has not yet produced discovery on this disciplined officer to defendants.19

          As I previously noted in ECF No. 147 at 13, MPD Lt. Shane Lamond was also

undercover on Capitol grounds for several hours on January 6 (and before I arrived at the

Capitol), and Lamond was allegedly in direct communication with the Proud Boys. The

government has charged Lamond for his involvement with the Proud Boys, suggesting that


19
  See article on disciplined undercover MPD investigator: https://washingtoncitypaper.com/article/691034/d-c-
police-inspector-disciplined-for-undercover-conduct-during-jan-6-insurrection/
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Lamond may have been involved in outrageous government conduct that constituted induced

entrapment. I not only passed close by Lamond on the west side of the Capitol, but Lamond’s

presence also contributed to the Raindrop Theory macro-dynamics. The government still has not

produced discovery on Lamond’s allegedly causal role to defense teams.

         The government also has not produced full discovery on the MPD Intel and Electronic

Surveillance Units, which were both undercover at the Capitol. The government has occasionally

trickled out new materials (after implying to the Court that they have nothing else to offer), but

these materials only suggest there is far more that the government possesses that hasn’t been

produced. For instance, in Global Discovery Production No. 33, the government released 86 new

photos and videos recorded by undercover ESU officers, as well as 13 summaries of FBI-

conducted interviews with ESU officers.20

         These newly released interview summaries were completed in November 2023, but the

government delayed producing them to defendants for four months. The existence of these files

indicates that the government was conducting a broader investigation into MPD ESU, yet the

government has not yet produced interview summaries for every ESU officer who was working

on January 6.21 The only summaries that have been provided are for officers that were previously

know, or that I noted were recordings media on January 6 that the government not been

produced, and for ESU officers who told the FBI that they were either stationed at other

20
  These new undercover MPD files were produced on March 18, 2024, but despite these materials being the
subject of my numerous discovery requests, the government did not produce them to me directly. Instead, the
government waited until April 17, a month later, to email the April 1 discovery letter to my standby counsel.
Strangely, the government did not copy me into that email, likely hoping that my standby would fail to forward the
letter to me. Just hours earlier, I had specifically told AUSA Ontell that any materials I am entitled to possess under
the protective order should be sent directly to me, rather than filtered through my standby counsel. Why does
discovery have to be such a ridiculous struggle with the government?!

21
   The government has not yet produced interview summaries for undercover MPD ESU Officers Boone, Butler,
Ellis, Faverio, Green, Lake, Leiva, Lipscomb, Melvin, Peyton, Roe, Tomasula, W. Turner, or Woods.
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locations downtown or had been at the Capitol but not recorded media. The government failed to

produce interview summaries for several ESU officers who recorded on Capitol grounds.

       In these interview summaries, some of the ESU officers admitted to recording media with

their personal cell phones that had not previously been produced. As I noted in ECF No. 139 at

21, Detective Callahan was captured on video recording at the Capitol, yet an internal MPD

report falsely claimed that he did not have a recording device. Surprise – I was right again!

       The government has now produced 42 pictures and videos recorded by Callahan at the

Ellipse and at the Capitol, including multiple selfies. Callahan also recorded himself entering the

northwest scaffolding to walk up the steps to the upper terrace, and then turning the video onto

himself while inside the scaffolding. Callahan even apparently handed his device to a third party

and had them take a photo of himself and Detective Levia posing in front of the crowd on the

upper terrace. In one clip on the upper west terrace, Callahan recorded Ashli Babbitt walking

towards the Senate Wing Doors. Callahan also recorded himself singing the National Anthem

with protestors on the upper west terrace.

       The government has now produced selfies taken by other undercover MPD officers on

Capitol grounds, as well as posed groups photos that these undercover officers took at the

Capitol. The government also produced media recorded by Officer John Streets, who I had

previously identified as #Badge2561MPD in ECF No. 139 at 26. However, while progress is

being made some files are still missing. A new evidence sheet for Officer Boone lists Boone as

providing the DOJ with 7 additional photographs from January 6, but the DOJ has failed to

produce 3 of these photographs in discovery. And the government continues to withhold media

from many other undercover MPD officers.
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           The fact that it has taken the government more than three years to produce these files, and

that they are still withholding many others, is extremely alarming. This slow roll of discovery

obstructs defense preparations, especially in the context of my Raindrop Theory defense. The

Court should not allow the government to continue delaying remaining productions.

Outrageous Conduct by the Department of Defense

           As with the FBI and DHS, the DOD also has employees who are affiants on January 6

charging documents. In the case of United States v. Timothy Hale Cusanelli, 21-cr-00037, Navy

NCIS Special Agent Daniel J. Meyers attested that he was on duty, performing his official duties

on January 6, 2021. Navy NCIS also was involved in investigating David Elizalde (23-cr-00170),

even though it was the FBI that filed the charges on Elizalde. During Elizalde’s trial, an official

email from the Navy was presented as evidence showing that the Navy instructed members not

to attend any January 6 events, however, Elizalde had not seen that email since he was on shore

leave (23-cr-00170, Document 51 beginning at 8, and 13). The fact that the Navy took the

unusual step of ordering their regular crews to not engage in First Amendment activity or attend

a speech by their Commander and Chief on January 6, indicates that the Navy possessed

intelligence that the events of January 6, 2021, would not be ordinary. As Navy veteran Rep.

Luria noted during a January 6 Committee hearing, “the captain of a ship cannot sit there and

watch the ship burned to the waterline and not do anything to stop it.”22 Though Luria directed

those remarks towards President Trump, the metaphor clearly fits those in the Navy who

possessed information about January 6, but were derelict in their duty to warn the public. The




22
     Lurie: https://www.nytimes.com/2022/07/18/us/politics/jan-6-hearing-today-trump-dereliction-of-duty.html
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Navy’s decision to share this warning with their own members, but not the general public, is

evidence of outrageous government conduct.23

           As Capitol Police Chief Sund notes in his book, “in addition to the FBI and DHS having

significant intelligence about January 6 that failed to rise to the highest levels, it now appears

that the military itself also had information that raised serious concerns in the Department of

Defense” (p. 279). Sund pointed to a January 3, 2021, meeting between Secretary of Defense

Miller, Acting Attorney General Jeffrey Rosen, Acting Secretary of Homeland Security Chad

Wolfe, and others, and a subsequent call on January 4, that raised concerns about January 6

internally, but failed to pass on warnings to Capitol Police or the general public.

           We now know the DOD didn’t just have information about January 6, 2021, they were

also physically participating. As was reported in January 2022, the Joint Special Operations

Command (JSOC) deployed commandos that were seconded to the FBI in order to give them

domestic authority.24 This extraordinary deployment of elite military forces appears even

stranger when viewed in context of the Pentagon withholding National Guard forces for hours on

January 6, and then attempting to cover it up. In a recent congressional hearing, senior leaders of

the D.C. National Guard testified that they were ready to deploy to the Capitol on January 6, but

that Gen. Charles Flynn and Gen. Walter Piatt obstructed deployment and lied about events.25




23
  Consider the court martial of Navy Capt. Alexander Balian, who was found guilty of dereliction of duty for failing
to rescue a Vietnamese boat whose crew then resorted to murder and cannibalism. The failure to rescue is
dereliction of duty comparable to the Navy’s failure to warn the general public, including myself, not to attend
January 6, 2021. Just as there would have been no cannibalism had Balian acted, there also would have been no
January 6. See: https://www.nytimes.com/1989/02/24/world/skipper-convicted-over-boat-people.html.

24
  See: Secret Commandos with Shoot-to-Kill Authority Were at the Capitol: https://www.newsweek.com/exclusive-
secret-commandos-shoot-kill-authority-were-capitol-1661330

25
     See the April 17, 2024, House Admin hearing: https://www.youtube.com/watch?v=EaF2h4d3pP0&t=4461s
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       The Pentagon seemingly had enough intelligence to deploy commandos and warn Navy

members to stay away from January 6 events, but their operational posture on intelligence

indicates that rather than entirely prevent what happened, they were willing to allow a trap to be

set for ordinary Americans like myself. And beyond their failures to share intelligence and

deploy the National Guard, representatives of the DOD may have played a far more sinister role

in January 6. As detailed in the sections ahead, Sam Andrews and John Moore, who have

backgrounds in DOD compartmented operations and military psychological operations,

attempted to rally half a million armed men to arrive in Washington by January 4, 2021.

Furthermore, it seems that DOD Special Agents were assigned to FBI JTTF task forces to track

specific persons to the Capitol.

       In the Statement of Facts in United States v. Rebecca Lavrenz, 23-cr-00066, Army

Counterintelligence Special Agent Charles D. Robertson, who is stationed in Colorado Springs,

attested that he was “on duty and performing my official duties.” Robertson also added that, he is

specifically tasked with the Colorado Springs area, and that, “On January 6, 2021, there were

many individuals from the State of Colorado located at and in the U.S. Capitol building,” and

that as a special agent he was authorized by law to “supervise the prevention. . . of a violation of

Federal criminal laws.” This indicates that Robertson may have had advance-intelligence on

individuals from Colorado who traveled to Washington, and that Robertson covertly followed

them onto Capitol grounds, and perhaps even into the Capitol.

       Lastly, as Chief Sund notes, Secretary of Defense Miller issued a directive on January 4,

2021, that changed military policy regarding the deployment of the D.C. National Guard (p. 282-

283). These policy changes were not permanent, they only applied to January 5 and 6, 2021, and

they made it more difficult for D.C. National Guard to be deployed to an event that the DOD was
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already deploying JSOC commando teams to through the FBI. With all these facts in mind, it’s

clear that the DOD’s actions prior to, and on, January 6, 2021, constitute outrageous government

conduct resulting in the inducement of conditions that created a trap for thousands of Americans.




Figure 2: Tucker Carlson’s show was canceled by Fox New right before an interview with Capitol Police Chief Sund was scheduled
to air. The above figure was released by Carlson’s biographer, and details what would have been Carlson’s final monologue. The
recording, which has not yet been released by Fox News, conveys that the January 6 crowd was more saturated with undercover
feds than any demonstration Sund had ever seen, and that Ray Epps may have a connection to the DOD’s intel community.

The CIA, ATF, DEA, and Other Agencies Also Flooded the Field

           In a recent Freedom of Information Act (FOIA) production to Judicial Watch, the Bureau

of Alcohol, Tobacco, and Firearms (ATF), revealed that both ATF and CIA assets, including dog

teams, were deployed near the Capitol.26 My review of footage has found multiple plain-clothes

dog operators in the crowd at the Capitol.27 I noted in ECF No. 81 at 15, that plain clothes DOJ-DEA




26
     For more on the CIA presence on January 6, see: https://www.judicialwatch.org/cia-bomb-techs-january-6/

27
     See my thread on K9 operators at the Capitol: https://twitter.com/FreeStateWill/status/1772300989715915218
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agents were leaving the Ellipse area during President Trump’s speech, walking in the direction of the

Capitol.28 These agents, according to the Raindrop Theory, contributed to the field being flooded.




Figure 3: Trained dog operators, including this plain-clothes lady who continuously roamed the crowd on Capitol grounds with a
stroller and her K9, also constitute ‘raindrops’ that flooded the field according to the Raindrop Theory used by the government.

Individuals Connected to Intel Agencies Induced the Events of January 6

         The United States Senate report examining the events of January 6, found that by

December 22, 2020, Capitol Police had intelligence on a man named Sam Andrews calling for

people to bring guns to Washington in early January. This intelligence stemmed from a

December 14, 2020, broadcast of the Hagmann Report, where Sam Andrews called for half a




28
  See my filing exhibits 81-7, 81-8, and 81-9 that show MPD officers stopping armed, undercover DEA agents:
https://rumble.com/v29x1b4-exhibit-bodycam-footage-from-officer-tyquan-brown.html
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million armed men to descend on the Capital. The December 14, 2020, episode29 of the

Hagmann Report is summarized in the bullet points below:


        •   42:24 – Andrews: “It’s important that we move in a coordinated effort . . .we’re going

            to start moving around the country on January 2nd and 3rd to D.C. armed, in large

            groups. Get with your local militia, get your large group together and start moving to

            D.C. armed. Because on January 4th we need to be in mass in D.C. armed,

            demanding, not asking – demanding that we get a peaceful resolution to these voter

            corruption issues.”

        •   47:05 – Andrews: “We need a coordinated effort. We all need to move on the same

            days. . . Plan on being in D.C. on [January] 4th. We are going to make our presence

            felt. And we need to. And you need to be smart enough to travel in large groups

            armed. Police don’t want a fair fight. . . The only way to prevent your own personal

            manipulation is to travel in large enough groups armed so that the policemen don’t

            want to fight.”

        •   48:25 – Andrews: “People need to move in mass. And you need to get your act

            together. You’ve got about two weeks to get your groups together and move to D.C.

        Sam Andrews’ call for half a million armed people to come to Washington predated

President Trump’s December 19, 2020, announcement of a January 6 rally by five days.

Furthermore, the government has noted that George Amos Tenney III, who pushed the

Columbus Doors open from the inside, had been inspired by Andrews’ call to action (21-cr-

00640, Document 1). This raises more questions about why the government did not alter the


29
  An archived copy of the 12/14/2020 episode of the Hagmann Report can be accessed here:
https://archive.org/details/B7DvhCWM5nH4WjbAC
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security posture at the Capitol, when they had intelligence on Sam Andrews in December 2020.

Failure to act on this intelligence constitutes inducement by outrageous government conduct.




Figure 4: According to DOJ charging documents, by late December, J6 door pusher George Amos Tenney III was influenced by
Sam Andrews’ call for 500k armed men to come to Washington D.C. in early January 2021.

         However, more alarming than the failure to act on intelligence is the fact that Sam Andrews has

admitted to working for a three letter agency doing compartment intel operations, and that he has been

a Department of Defense consultant.30 When Andrews made the call for 500 thousand armed men to

come to Washington, he was also doing so on an internet show hosted by Doug Hagmann, who has

30
  A January 3, 2016, Rolling Stone article by Alan Feuer, describes Sam Andrews as having “spent 20 years of
service in the country’s secret wars.” The article also notes that Andrews, “embarked on a career as ‘a consultant
for the Defense Department,’” and, “was recruited to undertake ‘compartmented projects’ in various theaters
overseas,” but that he couldn’t describe that work in detail due to a non-disclosure agreement. See:
https://web.archive.org/web/20181001080338/https://www.rollingstone.com/culture/culture-news/the-oath-
keeper-who-wants-to-arm-black-lives-matter-59109/.

An August 18, 2015, article by Andy Cush with Gawker, described Sam Andrews as having “worked for years
overseas as a contractor with a three-letter agency, but declined to say which, citing a non-disclosure agreement,
and also that he has trained police SWAT teams across the country.” See:
https://web.archive.org/web/20181013120106/http://gawker.com/whose-side-are-the-oath-keepers-in-ferguson-
on-1723917237
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admitted to working for and with the FBI, DOJ, and DHS. The third man on the episode, John Moore, has

a background in military psychological operatons.31 The Court should not ignore the fact that the three

individuals who originated the call for half a million, armed men to come to Washington (Andrews,

Moore, and Hagmann), all admit to working for federal agencies. These men played a causal role in

flooding the field at the Capitol, but their conspiracy has not been charged.




Figure 5: Just before 2 p.m., Sam Andrews’ group (circled in red) passed the group the FBI Clapper took photos of on the steps.

         On January 6, Sam Andrews and a group of associates was at the Peace Circle before most of the

crowd arrived. Andrews also entered onto Capitol Grounds, and he and colleague Matt Szyszkiewics

broadcasted live to the Hagmann Report from the Capitol.32 Hagmann noted during the broadcast that

he had more than 140 people inside and around the Capitol,33 and at one point during the broadcast,

guest host Randy Taylor (who admits to working with the DOJ and DHS) suggested that Hagmann order



31
  John Moore’s bio describes him as joining the Green Berets, and doing “classified studies of Middle-East
terrorists for the Special Forces,” and that his experience as includes, “special operations, covert operations,
psychological operations, undercover operations, surveillance operations. . .” See:
https://web.archive.org/web/20220915062753/https://www.thelibertyman.com/bio.html

32
  An archived copy of Sam Andrews broadcasting live to the Hagmann Report on January 6, 2021, can be accessed
here: https://archive.org/details/w9vaXy47e69pXBAxN

33
  Doug Hagmann admitted on January 6, 2021 to having at least 120-140 people inside and around the Capitol:
https://twitter.com/FreeStateWill/status/1660706458550296577
And: https://twitter.com/FreeStateWill/status/1565805386611019777
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their people at the Capitol to “breach the chambers.” Hagmann repeated the suggestion over the phone

to “breach the chambers,” and to “bring me Pelosi’s gavel.”34




Figure 6: In most of his bios, Doug Hagmann highlights his work with federal law enforcement, including the DOJ and FBI.

          To better understand these individuals, some background is helpful. Shortly after the September

11, 2001, attacks, Doug Hagmann launched the Northeast Intelligence Network and began operating a

website called homelandsecurityus.com to report on their operations. In 2005, this website noted that

Hagmann’s intelligence network was recognized by NATO as an intelligence source.35 Hagmann and his

team worked to infiltrate online terrorist cells and produce open source intelligence bulletins. For

instance, on August 20, 2005, Randy Taylor (who called for breaching the chambers on January 6),

claimed to have obtained the first known video of an al Qaida attack on the U.S. warships Ashland and

Kearsage.36 Listed among Hagmann’s staff were Sean Osborne, who worked intelligence in the military

prior to become a contractor for the military; Kate Evans-Taylor, who “held a top security clearance” in

British Intelligence; and the pseudonymous ‘Archangel,’ whose name was ommitted from the website



34
  Doug Hagmann and Randy Taylor ordering their people inside the Capitol to “breach the chambers”:
https://twitter.com/FreeStateWill/status/1565810399617990656

35
   On March 9, 2005, Hagmann’s website boasted of their NATO recognition: “The Northeast Intelligence Network
is honored to be listed with such intelligence organizations as the CIA, NSA and a host of government and industry
giants. It is a tremendous acknowledgment of which we are very proud.”
See: https://web.archive.org/web/20050830173804/http://www.homelandsecurityus.com/nato.asp

36
     See: https://web.archive.org/web/20050827181726/http://www.homelandsecurityus.com/
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due to their active work in “law enforcement or a related field.”37 Earlier versions of Hagmann’s staff

page included Laura Mansfield, who worked for the U.S. Embassy; and Jill St. Claire, who was listed as an

“information and operational asset for federal law enforcement,” who had, “over 800 submissions to

United States intelligence agencies.”38 Hagmann’s website also linked directly to websites for the FBI

and the Department of Homeland Security,39 and claimed that “ALTHOUGH WE ARE NOT RELATED TO

OR ENDORSED BY ANY GOVERNMENT AGENCY, we interact with the applicable law enforcement

agencies on a regular basis.”40 The interaction between Hagmann and federal agencies was so intimate,

that Hagmann claimed to have “federal officials” within his intelligence network:


        The core of our network is comprised of a group of individuals from various backgrounds,

        including but not limited to licensed investigators, current and former police officers, federal

        officials, military service personnel, and private citizens who have demonstrated an exceptional

        level of expertise in a number of areas related to information and intelligence gathering.41


        Furthermore, Hagmann’s website explicitely said that “all pertinent intelligence” his team

collected was “forwarded to the applicable government agency for their assessment and action if

warranted.” Even though Hagmann opperated under the auspices of not being government, while his

staff included individuals connected to intel agencies, Hagmann’s network seemingly existed because,


37
  A capture of Hagmann’s staff page from 2012, can be viewed here:
https://web.archive.org/web/20120119203835/http://homelandsecurityus.com/about/staff

38
  To view Hagmann’s staff page from April 2, 2004, see:
https://web.archive.org/web/20040402085523/http://homelandsecurityus.com:80/Meet%20the%20Analysts.htm

39
  See Hagmann’s Important Links:
https://web.archive.org/web/20040607200246/http://www.homelandsecurityus.com/hslinks.asp

40
  See Hagmann’s Mission page:
https://web.archive.org/web/20040607205058/http://www.homelandsecurityus.com/mission.asp

41
  See Hagmann’s FAQ page:
https://web.archive.org/web/20040422001905/http://www.homelandsecurityus.com:80/faq.asp
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“we are not constrained by bureaucratic ‘red tape’ that always tends to slow things down” (See

Footnote 19). They also noted that their quasi-governmental existance allowed them to disseminate

intelligence without it being filtered through classification or the political lens of each administration.

Hagmann also maintained a direct “channel of communication with some federal agencies.”


           This is the backdrop we have for understancing Doug Hagmann’s connection to U.S. intelligence

agencies prior to the January 6 events at the Capitol. While I do not have access to intel agency

accounting records, I do know that Doug Hagmann was at least indirectly funded by the United States

government through the company EMP Shield. This caught my eye since EMP Shield is headquartered

here in Kansas, and directly partners with intelligence agencies. The Biden White House recently

announced a $1.9 billion grant for EMP Shield expansion,42 and EMP Shield is a member of the National

Security Collaboration Center along with the NSA, DIA, FBI, DHS, and other intelligence agencies.43 EMP

Shield is recognized as a DHS vendor,44 and has also been endorsed by high-ranking DHS officials such as

Tom Homan.45 Senior management staff from EMP Shield have spoken at national security events

alongside former CIA Director James Woolsey.46 On the January 5, 2021 episode of the Hagmann Report,

Doug Hagmann acknowledged that he was sponsored and funded by EMP Shield.47



42
   The Biden White House gave a sponsor of Doug Hagmann (who called for breaching the chambers on January 6)
a $1.9 billion grant: https://www.whitehouse.gov/briefing-room/statements-releases/2023/05/22/fact-sheet-vice-
president-harris-advances-the-biden-harris-administrations-investing-in-america-agenda-and-highlights-multi-
billion-dollar-semiconductor-rd-investments/

43
     See NSCC Ecosystem: https://nscc.utsa.edu/partnerships.html

44
  ‘Homeland Security Guidelines name EMP Shield as Vendor for EMP Protection’:
https://www.empshield.com/emp-resilience/

45
     Former DHS-ICE Director Tom Homan endorses EMP Shield: https://www.youtube.com/watch?v=xaD5h1vZrrY

46
  EMP Shield Staff were on an expert panel with CIA Director Woolsey:
https://www.facebook.com/empshield/photos/pb.100064389473499.-2207520000/4727439430650249/?type=3

47
  Hagmann noted he was financially supported by intel-agency funded EMP Shield on his January 5, 2021
broadcast: https://twitter.com/FreeStateWill/status/1681000516942266370
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Figure 7: The archive of hagmannreport.com from January 6, 2021, shows that Doug Hagmann was sponsored by EMP Shield.

         Shortly after President Trump announced that there would be a rally on January 6, Sam

Andrews, Doug Hagmann, Randy Taylor, and their associates shifted their plans for 500k armed men to

arrive in Washington on January 4, to instead coincide with President Trump’s rally on January 6. In late

December 2020, they spun up a new organization and website called Americans For Honest Elections.

The website called for people to follow information coming from the Hagmann Report and to donate to

a paypall account associated with the email address FreedomcenterUSA777@gmail.com, which matches

the name of Sam Andrews’ gun range in central Missouri.48


         The Americans For Honest Elections website was created by Altha Technologies, a company run

by a former Marine Embassy Guard named Jared Heath, who claims to have received espionage training

while serving at the U.S. Embassy in Cuba. All of the news updates posted to the Americans For Honest

Elections website were posted by the username ‘altha-admin,’ which is presumably Heath or one of his

employees.49 According to Jared Heath’s father Mike, Jared’s brothers are both DOD contractors. Jared

Heath was also on the U.S. Capitol terrace on January 6, and shortly after the events of January 6, 2021,




48
  Sam Andrews’ call for PayPal donations:
https://web.archive.org/web/20210224235110/https://americansforhonestelections.com/news/updates-and-
announcements-about-the-upcoming-meeting/

49
  An archived list of articles posted to Sam Andrews’ January 6 website by ‘altha-admin’:
https://web.archive.org/web/20210224235013/https://americansforhonestelections.com/category/news/
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Jared admitted that he still had a top-secret clearance, and he bragged that January 6 was an

insurrection and that he was trying to overthrow the government.50


         January 1, 2021, altha-admin, presumably Jared Heath, posted an article titled ‘HAD ENOUGH

YET?’51 that called for anyone who is proficient with a firearm to return to Washington prior to the

presidential inauguration. Even though the article was posted by ‘altha-admin,’ the reference to a Polish

guy from New Hampshire seems to fit Matt Szyszkiewics, who is from New Hampshire, and reported live

with Sam Andrews on January 6. Even though they claim many connections to the FBI, an article on the

website from December 28, 2020, said that they expected “agent provocateurs of the fbi” to be active

on January 6, and that they believed it could become a rough environment.52




         Sam Andrews                    Matt Szyszkiewics




Figure 8: On January 6, Sam Andrews (who called for 500k armed men to come to Washington), and a group of four other men,
including Matt Szyszkiewics, entered Capitol grounds, and were ordered by Doug Hagmann to “breach the chambers.”

50
  A montage of Jared Heath after January 6 admitting to having a top-secret clearance and espionage training:
https://twitter.com/FreeStateWill/status/1566142822646009857

51
  An archived copy of ‘Had Enough Yet?’ can be accessed here:
https://web.archive.org/web/20210224234337/https://americansforhonestelections.com/news/had-enough-yet/

52
   A call to prepare for January 6 in Washington:
https://web.archive.org/web/20210224235031/https://americansforhonestelections.com/news/ur-donate-page-
is-not-active-yet-please-allow-us-till-the-31st-of-dec-to-get-it-activated/
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         While they warned of FBI provocateurs, Hagmann, Andrews, and their associates were the ones

with connections to federal intelligence agencies, and were the ones directing people to Washington,

and to the Capitol. Their ‘Americans for Honest Elections’ website included a map instructing people to

first meet at the Ellipse, but to follow their website for more updates. The website further instructed

people to follow the Hagmann Report, which broadcasted live orders on January 6 for people to breach

the Capitol chambers. These longtime government operatives induced flooding of the field.




Figure 9: The Americans for Honest Elections website provided maps and instructions for January 6.
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The Government’s Obligation to Provide Discovery from All Investigative Agencies

As this filing has shown, there are multiple agencies (Army, Navy, FBI, ATF, CIA, etc...) that

participated in a joint investigation into January 6, 2021. In addition to the agencies mentioned

earlier, I also found case charging documents that were filed by Homeland Security

Investigations (HIS), Postal Service investigators, the U.S. Secret Service, and other agencies.

The Department of Justice guidelines for criminal discovery,53 which were established in

accordance with Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States, 405 U.S. 150

(1972), 18 U.S.C. § 3500 (the Jencks Act), and Federal Rules of Criminal Procedure 16 and 26.2,

require that production obligations extend to all agencies that have participated in an

investigation. Any exculpatory information these agencies possess must be produced to me.

Summary of Raindrop Theory Defense

        In this filing, I’ve given a brief overview of how federal agencies had prior intelligence

about January 6, but maintained a relaxed security posture rather than preventing the events at

the Capitol. These same agencies had human assets embedded in the crowd at the Capitol, which,

like raindrops, contributed to the field flooding. Additionally, individuals like Sam Andrews and

Doug Hagmann, who claim to have worked for and with these federal agencies, were on a

mission to induce armed crowds to go to Washington and breach the chambers inside the

Capitol. All of these facts are documented and raise additional questions about the government’s

outrageous and shocking conduct before and on January 6, 2021. Since this outrageous

government conduct constitutes induced entrapment, I intend to bring these arguments as a

defense in trial. I therefore move the Court to compel the government to provide all additional

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  C.R.M. 165: Guidance for Prosecutors Regarding Criminal Discovery:
https://www.justice.gov/archives/jm/criminal-resource-manual-165-guidance-prosecutors-regarding-criminal-
discovery
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discovery related to outrageous government conduct, including government intelligence failures,

the undercover presence of agencies and their human assets at the Capitol, and complete records

of the government’s working relationships with Sam Andrews, Doug Hagmann, Jared Heath,

Randy Taylor, John Moore, Matt Szyszkiewics, and any of their associates who were at the

Capitol on January 6, 2021. Just as heavy rains cause a flood in a field, each of these raindrops

contributed to the flood. Only when truth drains the floodwaters can order be restored.

       Submitted respectfully to the Court,

                                                       By: William Pope
                                                           /s/
                                                       William Pope
                                                       Pro Se Officer of the Court
                                                       Topeka, Kansas




                                         Certificate of Service
                      I certify that a copy of this was filed electronically for
                          all parties of record on the Ides of May 3, 2024.

                                              /s/
                                 William Alexander Pope, Pro Se
